401 F.2d 176
    Augustus GEETER, Appellant,v.UNITED STATES of America, Appellee.
    No. 20819.
    United States Court of Appeals Ninth Circuit.
    Sept. 26, 1968, Rehearing Denied Dec. 20, 1968.
    
      Ronald E. Brandel (argued), San Francisco, Cal., for appellant.
      Cecil F. Poole, U.S. Atty., Jerrold M. Lader, Asst. U.S. Atty., John C. Milano, Asst. U.S. Atty.  (argued), San Francisco, Cal., for appellee.
      Before CHAMBERS and MERRILL, Circuit Judges, and CROCKER, District judge.
      PER CURIAM.
    
    
      1
      We have carefully considered appellant's assignments of error and find that they are without merit.
    
    
      2
      Appellant contends that the prosecutor improperly argued with respect to the absence of an alibi witness, with respect to appellant being in the Tiki barber shop and with respect to appellant's pretrial silence.
    
    
      3
      In his opening statement and closing argument, counsel for defendant brought up the absence of the alibi witness and the pretrial silence of defendant, and made no objections at the trial to the matters now complained of.
    
    
      4
      Reading the entire record, we find the argument of the prosecutor responsive to the issues raised by defendant's counsel and not prejudicial to appellant.
    
    
      5
      Judgment of the District Court is affirmed.
    
    CHAMBERS, Circuit Judge (concurring):
    
      6
      I concur.
    
    
      7
      On this appeal, the government has provided Geeter successively with four attorneys.
    
    
      8
      I want to compliment the fourth, Roland E. Brandel, for his able and persuasive efforts in behalf of Geeter.  He almost convinced me.
    
    
      9
      His work is an object lesson in what a lawyer can honorably and cogently put together where others of less determination give up.  Geeter could have done no better with unlimited funds to hire his own lawyer.
    
    